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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS

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ROBERT DONCHESS,           *
                           *                                  No. 21-1603V
               Petitioner, *
                           *                                  Special Master Christian J. Moran
v.                         *
                           *                                  Filed: February 23, 2023
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
*************************

                             ORDER CONCLUDING PROCEEDINGS 1

       On February 16, 2023, petitioner moved for voluntary dismissal under Vaccine Rule
21(a)(1)(B). Respondent does not oppose petitioner’s motion for voluntary dismissal.

       On February 23, 2023, a status conference was held during which petitioner’s counsel
confirmed that petitioner did not want a judgment and wanted to conclude the case definitively.

       Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned case is hereby
dismissed without prejudice. The Clerk of the Court is hereby instructed that a judgment shall
not enter in the instant case pursuant to Vaccine Rule 21(a).

        IT IS SO ORDERED.

                                                              s/Christian J. Moran
                                                              Christian J. Moran
                                                              Special Master




1
 The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b), the
parties have 14 days to file a motion proposing redaction of medical information or other information described in
42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special master will appear in the document posted on the
website.
